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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

PROGRESSIVE MOUNTAIN                          )
INSURANCE COMPANY,                            )
                                              )
      Petitioner,                             )
                                              )       CIVIL ACTION FILE NO.
v.                                            )       _________________________
                                              )
MOBILE MAINTENANCE ON THE                     )
GO, LLLP, HELENE JULIEN,                      )
BRANDON DONALD, and JESSE                     )
ESPINOZA                                      )
                                              )
      Respondents.                            )
                                              )

               PETITION FOR DECLARATORY JUDGMENT

      COMES NOW, Progressive Mountain Insurance Company (“Progressive”),

and files this its Petition for Declaratory Judgment. Petitioner asks this court to

declare the rights and legal relations of the parties herein. In support thereof,

Petitioner respectfully shows the Court as follows:

      This is an action for declaratory judgment, pursuant to 28 U.S.C. § 2201, for

the purpose of determining an actual controversy between Progressive and the

Respondents in regard to the parties’ respective rights and obligations under a policy



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of insurance issued by Progressive in relation to the claims for bodily injury arising

from a motor vehicle accident that took place in Gwinnett County, Georgia.

                                      PARTIES

                                          1.

      Petitioner Progressive is incorporated in and is therefore a citizen and resident

of the State of Ohio with its principal place of business in Mayfield Village, Ohio.

Progressive is authorized to conduct business in the State of Georgia.

                                          2.

      Mobile Maintenance On The Go, LLLP (“Mobile Maintenance”) is

incorporated in and is therefore a citizen and resident Georgia, with its principal

place of business in Duluth, Georgia. Respondent Mobile Maintenance may be

served by delivering Summons and a copy of the Petition to its registered agent,

Javier Espinoza, 637 Streamwood Ivy Trail, Suwanee, Gwinnett County, Georgia

30024.

                                          3.

      Helene Julien (“Julien”) is a resident of Gwinnett County, Georgia and a

citizen of the State of Georgia. Respondent Julien may be served by delivering

Summons and a copy of the Petition to her last known address of 637 Streamwood

Ivy Trail, Suwanee, Gwinnett County, Georgia 30024.

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                                        4.

      Brandon Donald (“Donald”) is a resident of Gwinnett County, Georgia and a

citizen of the State of Georgia. Respondent Donald may be served by delivering

Summons and a copy of the Petition to his last known address of 3376 Fairway Oaks

Drive, Apartment 2B, Lawrenceville, Gwinnett County, Georgia 30044.

                                        5.

      Jesse Espinoza (“Espinoza”) is a resident of Gwinnett County, Georgia and a

citizen of the State of Georgia. Respondent Espinoza may be served by delivering

Summons and a copy of the Petition to her last known address of 637 Streamwood

Ivy Trail, Suwanee, Gwinnett County, Georgia 30024.

                            JURISDICTION AND VENUE

                                        6.

      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332.

There is complete diversity of citizenship among Petitioner and all Respondents.




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                                          7.

      On or about March 25, 20201, counsel for Respondent Julien sent a time-

limited demand letter to Progressive. (A true and accurate copy of the Time-Limited

Demand is attached hereto as Exhibit “A.”)

                                          8.

      Based on the allegations in Respondent Julien’s Time-Limited Demand, the

amount in controversy exceeds this Court’s jurisdictional limit of $75,000.00,

inasmuch as Respondent Julien’s Time-Limited Demand contains a settlement

demand of $1,000,000.00.

                                         10.

      This Court further has jurisdiction pursuant to 28 U.S.C. § 2201 because

Progressive is seeking a declaration from this Court regarding the parties’ rights and

obligations with respect to an automobile insurance coverage policy delivered to

Mobile Maintenance On the Go, LLC.




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 The demand letter was incorrectly dated March 25, 2019. Progressive received
the demand on March 26, 2020.
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                                         11.

      This Court is vested with the power to declare the rights and obligations of

the parties hereto and to provide such other relief as may be necessary, pursuant to

28 U.S.C. § 2201.

                                         12.

      Venue is laid in this district pursuant to 28 U.S.C. § 1391 by virtue of the fact

that Respondents Mobile Maintenance On The Go, LLLP, Julien, Donald, and

Espinoza, reside in Gwinnett County, Georgia.

                           PRELIMINARY ALLEGATIONS

                                 Subject Accident

                                         13.

      This claim arises out of a motor vehicle accident that occurred at or around

10:52 p.m. on October 15, 2018, on Pleasant Hill Road at its intersection with

Crestwood Parkway in Gwinnett County, Georgia (“Subject Accident”).

                                         14.

      Respondent Julien was walking from the Publix grocery store going to her

sister’s house on foot when she was struck by a 2000 Honda Civic (“Subject

Vehicle”) being driven by Respondent Donald.


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                                           15.

      Respondent Julien was not occupying any vehicle at the time of the Subject

Accident.

                                           16.

      Respondent Julien sustained fractures to her right hip, leg, and ankle and a

dislocation of her right knee.

                                      Subject Policy

                                           17.

      At the time of the Subject Accident, Mobile Maintenance On The Go LLC

was the named insured on a commercial auto policy issued by Progressive Mountain

Insurance Company, with effective dates of coverage from January 18, 2018 to

January 18, 2019, Policy No. 05840160-1 (“Policy”). (A certified copy of the Policy

is attached hereto as Exhibit “B”).

                                           18.

      The    Policy    provides       $1,000,000   Combined     Single   Limits   in

uninsured/underinsured motorist coverage for bodily injury and property damage.

                                           19.

      The Policy lists the Subject Vehicle as the only listed vehicle.

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                                      20.

The Policy states, in pertinent part:

        UNINSURED MOTORIST COVERAGE ENDORSEMENT


Except as specifically modified in this endorsement, all provisions of the
Commercial Auto Policy apply.


We agree with you that the insurance provided under your Commercial
Auto Policy is modified as follows:


INSURING AGREEMENT


Subject to the Limits of Liability, if you pay the premium for Uninsured
Motorist Coverage, we will pay for damages, other than punitive or
exemplary damages, which an insured is legally entitled to recover from the
owner or operator of an uninsured auto because of bodily injury or property
damage:
1. Sustained by an insured;
2. caused by an accident; and
3. arising out of the ownership, maintenance, or use of an uninsured auto.
We will pay under this endorsement only after the limits of liability under all
applicable liability bonds and policies have been exhausted by payment of
judgments or settlements.
Any judgment or settlement for damages against an owner or operator of
an uninsured auto that arises out of a lawsuit brought without our written
consent is not binding on us.


ADDITIONAL DEFINITIONS




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When used in this endorsement, whether in the singular, plural, or
possessive:
1.      “Insured” means:
…
        b.     if the named insured shown on the declarations page is a
               corporation, partnership, organization, or any other entity that
               is not a natural person:
               (i)     any person occupying an insured auto or temporary
                       substitute auto; and
               (ii)    any person who is entitled to recover damages by this
                       endorsement because of bodily injury sustained by a
                       person described in (i) above.
2.      “Non-owned auto” means any auto that is not owned by you or
        furnished for your regular use….
…


6.      “Uninsured auto” means an auto or trailer of any type:
        a.     to which no liability bond or policy applies at the time of the
               accident;
        b.     to which a liability bond or policy applies at the time of the
               accident, but the bonding or insuring company:
               (i)    legally denies coverage; or
               (ii)   is or becomes insolvent;
        c.     whose operator or owner cannot be identified and which
               causes and accident resulting in bodily injury or property
               damage to an insured, provided that:
               (i)    the insured, or someone on his or her behalf, reports
                      the accident to the police or civil authority within
                      twenty-four (24) hours or as soon as practicable after
                      the accident; and
               (ii)   the accident is reported to us not later than thirty (30)
                      days after the accident.



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               If there is no physical contact with the auto, the facts of the accident
               must be corroborated by an eyewitness other than the injured
               insured; or
               d.       to which a liability bond or policy applies at the time of the
                        accident, and:
                        (i)   if “Added-on Coverage” has been elected, as shown
                              on the declarations page, the amount of coverage
                              available under all applicable liability policies or bonds
                              is less than the damages that the insured is legally
                              entitled to recover for bodily injury or property damage
                              from the owner of operator of the uninsured auto;
         …

                                 DECLARATORY JUDGMENT

                    Julien is Not an “Insured” as Defined by the Policy

                                              21.

         Progressive incorporates by reference the allegations contained in Paragraphs

1 through 20 as though set forth fully herein.

                                              22.

         The Policy provides underinsured motorist coverage for injuries “sustained by

an insured . . . arising out of the ownership, maintenance or use of an uninsured

auto.”

                                              23.

         Because the named insured shown on the declarations page, Mobile

Maintenance On The Go LLC, is not a natural person, then Respondent Julien must


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have been “occupying an insured auto or temporary substitute auto” in order to

qualify as an “insured” under the Policy.

                                         24.

      Based on the fact that Respondent Julien was a pedestrian when she was

struck, it is clear that she was not occupying any vehicle at the time of the Subject

Accident.

                                         25.

      Accordingly, the Policy does not provide coverage for the claims asserted in

Respondent Julien’s demand, and Progressive appears to owe no duty to defend or

indemnify any of the Respondents for any claims asserted as a result of the Subject

Accident.

                                         26.

      Progressive is in a position of uncertainty as to its rights, obligations, and

duties in regard to the extent of any applicable coverage under the Policy pursuant

to the terms at issue and cited herein and seeks a judicial declaration with respect to

these coverage issues.




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      WHEREFORE, Petitioner prays:

      (a)   that process and summons issue as to each of the Respondents herein

            and that they be served with process and a copy of this Petition for

            Declaratory Judgment as required by law;

      (b)   that this Court declare the rights and legal obligations of Petitioner

            and Respondents under the subject Policy; specifically that

            Progressive has no duty to defend or indemnify Respondents for the

            claims arising out of the Subject Accident; and/or

      (c)   for such other and further relief as this Court deems appropriate.

      Respectfully submitted this 17th day of April, 2020.

                                      LUEDER, LARKIN & HUNTER, LLC

                                      /s/ Erica L. Parsons
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